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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF TEXAS
MARSHALL DIVISION

 

WHIRLPOOL PROPERTIES, INC.,
WHIRLPOOL CORPORATION,
MAYTAG PROPERTIES, LLC,

Plaintiffs,

ASSCON INTERNATIONAL COMPANY
LIMITED LLC

Defendant.

 

 

Civil Action No. 2:20-CV-00042-IRG

AFFIDAVIT OF MELISSA R. SMITH IN SUPPORT OF PLAINTIFFS’
POST-JUDGMENT WRIT OF GARNISHMENT

STATE OF TEXAS

COUNTY OF SMITH

Before me, the undersigned notary, on this day personally appeared Melissa R. Smith, the

affiant, who, being by me duly sworn, deposed as follows:

1. My name is Melissa R. Smith. | am of sound mind, over the age of twenty-one (21)

years, capable of making this affidavit, and have personal knowledge of the facts

herein stated, which are true and correct.

2. [Tam counsel for Whirlpool Corporation, Whirlpool Properties, Inc., and Maytag

Properties, LLC (collectively, “Garnishors”), the Plaintiffs in the above-referenced

action,

3. Iam authorized to make this Affidavit and Application For Writ of Garnishment in

this cause.

 

 
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4.

I have personal knowledge of the facts stated in this Affidavit, and they are true and
correct.

Garnishors own a judgment against Asscon International Company Limited LLC
(“Asscon” or “Judgment-Debtor”), which was rendered on April 27, 2020 by the
United States District Court, Eastern District of Texas, Marshall Division in Civil
Action 2:20-CV-00042-JRG styled Whirlpool Properties, Inc., et al. v. Asscon
International Company Limited LLC (the “Judgment”). A true and correct copy of the
Judgment is attached as Exhibit “1”. The Judgment is valid and subsisting, and a
supersedeas bond has not been approved and filed to suspend execution of the
Judgment. The amount now due and unpaid on the Judgment is $1,075,778.87.
Within my knowledge, Judgment-Debtor does not possess property in Texas subject
to execution sufficient to satisfy the Judgment. This knowledge is based, in part on
the fact that Defendant is a forei gn corporation incorporated in Hong Kong with no
known presence in the United States. This garnishment is not sought to injure
Judgment-Debtor or Garnishee.

I have reason to believe that Garnishee is indebted to Defendant. My belief is based
on evidence that Asscon owns and operates the domain name clatterans.com,
clatteransonline.com, and clatteransfilters.com (the “Subject Domain Names”)! which

offers offer goods for sale online and accept payments for sales via PayPal, Inc.

 

' The Defendant uses the Subject Domain Name www.clatteransonline.com as a supporting
domain name which directs traffic to its interactive, commercial website operating under the
www.clatteransfilters.com Subject Domain Name.
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Further, affiant sayeth not.

SIGNED, on this 22nd day of March 2021. J | Q/)

Meligsa R. Smith

SUBSCRIBED AND SWORN BEFORE ME on the 22™ day of March 2021, to certify which

witness my hand and official seal. DD icp
je ti

Notary Public, State flank Texas.
My Notary ID # 130743169

Os Expites duly 23, 2024

 
